                                   Case 2:20-cv-00163-JDW Document 1 Filed 01/09/20 Page 1 of 16
JS 44 (Rev. 02/ 19)                                                                  IVIL COVER SHEET
The JS 44 civil cover sheet and the informati       nfui!llli.l h~ ' i either replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, ap rovea by the Judicial Conference of the United States in September 1974, is requtred for the use of the Clerk of Court for the
purpose of initiating the civil doo et sheet. (SEE INSTRUCTIONS ON NEXT PAGE ,°F THIS FORM.)

I. (a) PLAINTIFFS                                                                                                  DEFENDANTS
                                                                                                                                                                                                                 /)




        (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant
                                    (EXCEPT IN US PLAINTIFF                                                                                        (IN U.S. PLAINTIFF CASES

                I o/ t,f O(J Cov1 +r-y 'l.J                                                                        NOTE:      IN LAND CONDEMN A Tl ON CASES, USE
                                                                                                                              THE TRACT OF LAND INVOLVED.


        (c)
                   M; 0 I ~ u V 11. ra I
               Attorneys
                           fl(.
                            (Firm Name, Add~ lnd Telephone                                                          Attorneys (If Known)
                  .) 6c;l .c. L -c""6M                  5
              2. 2   r-ev i1""':"5k             11     we5..f..
II. BASIS OF JURV
                S .ION (Placean "X" mOneBoxOnlyJ                                                       III. CITIZENSHIP OF PRI                                  L PARTIES (Place an "X" in One Box/or Plaintiff
                                                                                                                                                                                     and One Box for Defendant)
0       I    U S Government               g--         Federal Quesnon                                                                                                                               PTF       DEF
                Plamtiff                                (US Government Not a Party)                       Citizen of This State                                 Incorporated or Principal Place      0 4      0 4
                                                                                                                                                                  of Business In This State

0 2          U S Government               O 4         D1vers1ty                                                                                                 Incorporated and Principal Place    0   5    0 5
                Defendant                               (Indicate Cmzensh1p of Parties 1n Item JII)                                                                of Business In Another State

                                                                                                                                                       0    3   Foreign Nation                      0   6    0 6


    IV NATURE OF SUIT (Place an                         "X" in One Box Only)                                                                           Click here tior: Nature of Suit Code Descnotions.
I               CONTRACT                                              TORTS                                 FORFEITURE/PENALTY                             BANKRUPTCY                    OTHER STATUTES               I
    0   110 Insurance                       PERSONAL INJURY                     PERSONAL INJURY           0 625 Drug Related Seizure              0 422 Appeal 28 USC 158          0 375 False Claims Act
    0   120 Marine                       0 310 Airplane                     0 365 Personal Injury -             of Property 21 USC 881            0 423 Withdrawal                 0 376 Qui Tam (31 USC
    0   130 Miller Act                   0 315 Airplane Product                    Product Liability      0 690 Other                                   28 USC 157                        3729(a))
    0   140 Negotiable Instrument              Liability                    0 367 Health Care/                                                                                     0 400 State Reapportionment
    0   150 Recovery of Overpayment      0 320 Assault, Libel &                   Pharmaceutical                                                     PROPERTY Rlf.ffl'S            0 410 Antitrust
             & Enforcement of Judgment         Slander                            Personal Injury                                                 0 820 Copyrights                 0 430 Banks and Banking
    0   151 Medicare Act                 0 330 Federal Employers'                 Product Liability                                               0 830 Patent                     0 450 Commerce
    0   152 Recovery of Defaulted               Liability                   0 368 Asbestos Personal                                               0 83 5 Patent - Abbreviated      0 460 Deportation
             Student Loans               0 340 Marine                              Injury Product                                                        New Drug Application      0 4 70 Racketeer Influenced and
             (Excludes Veterans)         0 345 Marine Product                      Liability                                                      0 840 Trademark                         Corrupt Organizations
    0   153 Recovery of Overpayment            Liability                      PERSONAL PROPERTY                         LAB,.,                      Sllf 'IA.I,SE 'lllllTY         0 480 Consumer Credit
             of Veteran's Benefits       0 350 Motor Vehicle                0 370 Other Fraud             0 710 Fair Labor Standards              0 861 HIA (1395ff)               0 485 Telephone Consumer
    0   160 Stockholders' Suits          0 355 Motor Vehicle                0 371 Truth in Lending                Act                             0 862 Black Lung (923)                  Protection Act
    0   190 Other Contract                     Product Liability            0 380 Other Personal          0 720 Labor/Management                  0 863 DIWC/DIWW (405(g))         0 490 Cable/Sat TV
    0   195 Contract Product Liability   0 360 Other Personal                     Property Damage                 Relations                       0 864 SSID Title XVI             0 850 Securities/Commodities/
    0   I 96 Franchise
                                         ~62 Injury
                                             Personal Injury -
                                                                            0 385 Property Damage
                                                                                  Product Liability
                                                                                                          0 740 Railway Labor Act
                                                                                                          0 75 1 Family and Medical
                                                                                                                                                  0 865 RSI (405(g))                      Exchange
                                                                                                                                                                                   0 890 Other Statutory Actions

I             REAL PROPERTY
    0 210 Land Condemnation
                                    "                Medical Malpractice
                                            CIVIL RIGHTS
                                         ~4 10 Other Civil Rights
                                                                              PRISONER PETITIONS
                                                                               Habeas Corpus:
                                                                                                                  Leave Act
                                                                                                          0 790 Other Labor Litigation
                                                                                                          0 79 1 Employee Retirement
                                                                                                                                                     FEDERAL TAX SUITS
                                                                                                                                                  0 870 Taxes (U.S. Plaintiff
                                                                                                                                                                                   0 891 Agricultural Acts
                                                                                                                                                                                   0 893 Environmental Matters
                                                                                                                                                                                   0 895 Freedom of Information
    0 220 Foreclosure                    04 I Voting                        •-
                                                                         463 Alien Detainee                      Income Security Act                    or Defendant)                     Act
    0 230 Rent Lease & Ejectrnen         t 4 42 Employment             0 510 Motions to Vacate                                                    0 871 IRS-Third Party            0 896 Arbitration
    0 240 Torts to Land                     443 Housing/                     Sentence                                                                   26 USC 7609                0 899 Administrative Procedure
    0 245 Tort Product Liabi lity   \_          Accommodations         0 530 General                                                                                                      Act/Review or Appeal of
    0 290 All Other Real Property         0 445 Amer. w/Disabilities - 0 535 Death Penalty                        IMMIGRATION                                                             Agency Decision
                                                Employment               Other:                           0 462 Naturalization Application                                         0 950 Constitutionality of
                                          0 446 Amer. w/Disabilities - 0 540 Mandamus & Other             0 465 Other Immigration                                                         State Statutes
                                                Other                  0 550 Civil Rights                       Actions
                                          0 448 Education              0 555 Prison Condition
                                                                       0 560 Civil Detainee -

    (\                                                                       Conditions of
                                                                             Confinement

(v. • ?,RIGJN (Placean "X"inOneBoxOnly)
~I           Original         O 2 Removed from                    0   3    Remanded from              04 Reinstated or       0 5 Transferred from               0 6 Multidistrict            0 8 Multidistrict
            J Proceeding          State Court                              Appellate Court               Reopened                Another District                   Litigation -                 Litigation -
                                                                                                                                      (specify)                     Transfer                    Direct File


v..                                                                                                                                            vs-c ,1t' i
                                                Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
             CAUSE OF ACTION Brief description of cause:
                                                                                                                                                                                 [4
                                                                                                        tul ~€_          I;-h qevAvn by ~cfw:-4-
                                                                                                                                  ✓
    VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                  DEMAND$                                        CHECK YES only 1f demanded m complaint.
         COMPLAINT:          UNDER RULE 23 , F.R.Cv.P.                                                                                                      JURY DEMAND:         0 Yes     ONo
    VIII. RELATED CASE(S)
                           (See instructions) :
          IF ANY                                JUDGE                                                                                                DOCKET NUMBER
    DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD


    FOR OFFICE US

        RECEIPT#                     AMOUNT                                         APPL YING IFP                                 JUDGE                                MAG. JUDGE       JAN - 9 20 20
                                 Case 2:20-cv-00163-JDW   Document
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                                                            ST ATES DISTRICT   01/09/20 Page 2 of 16
                                                                             COURT
                                                                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                                                                                         20                  ... 83
                                                                                                                                                                            -.;, _
                                                                                        DESIGNATION FORM




 RELATED CASE, IF ANY:

 Case N umber:             \CZ' -       () 3 7 2 <]                          Judge: _              ____,._.,J--"---D_LJ_            Date Terminated:          /V    lA
 Civil cases are deemed related when Yes is answered to any of the following questions:

 1.     Is this case related to property included in an earlier numbered suit pending or within one year                              Yes D                Nog
        previously terminated action in this court?

 2.     Does this case invo lve the same issue of fact or grow out of the same transaction as a prior suit
        pending or within one year previously terminated action in this court?
                                                                                                                                      Yes   IXI            No   •
 3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                                Yes O                No ~
        numbered case pending or within one year previously terminated action of this court?

 4.     Is this case a second or successive habeas                COi]      social security appeal, or pro se civil rights            Yes O                Nog
        case filed by the same individual?

 I certify that, to my knowledge, the within cas                                             related to any case now pending or within one year previously terminated action in
 this court except as oted above.


                                                                                                                                               Attorney l D. # (if applicable)


 CIVIL: (Place a ✓ in one ca tegory only)

 A.             Federal Question Cases:

••      1.
        2.
                Indemnity Contract, Marine Contract, and All 0
                FELA
                                                                                           THI S CASE IS RELATED TO:

•               Jones Act-Personal Inj ury
                Antitrust
                Patent                                                                   CI VIL ACTION N             1




                                                                                                                                                                   I
                Labor-Management Relations                                               CRIMINAL NO.
                Civil Rights
                Habeas Corpus
                Securities Act(s) Cases                                                  ASSIGNED TO:
                Social Security Review Cases
                All other Federal Question Cases
                (Please specify) : _ _ _ _ _ _ _ _ _ __




                                        --rr:.          (The effect of this certification 1s to remove me caoey , u ... -•-,,-- ~ - -- - -- -- - - --                  -   - -- -


I,   ~·-~,._J_O
              __ _lt_ u._a..___t,___(JM
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                           ·         __          q,____,,_>
                                                       :....___   _,     counsel of record or prose plaintiff, do hereby certify:


                  rsuant to Local Civil Ru le 53.2, § 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverab le in this civil action case
                e ceed the sum of$150,000.00 exclusive of interest and costs:

                     elief other than monetary damages is sought.


DATE: _---+-t/-f-0
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                                    /_w__
                                    I
                                                                                              S~re ifapplicable
                                                                                     Attorney -at-Law I Pro Se Plaintiff                      Attorney I.D. # (if applicable)
NOTE: A trial de novo will be a trial by j ury only ifthe re has been compliance with F. R.C.P. 38.                                                    JA .-9 2C20
Civ. 609 (5120 18)
         Case 2:20-cv-00163-JDW Document 1 Filed 01/09/20 Page 3 of 16

                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                            \

                    CASE~AGEMENT TRACK DESIGNATION FORM

                                                                             CIVIL ACTION

                       V.

                                                                             NO.    20            163 ~
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants . (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                   ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                            ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management - Cases that do not fall into any one of the other tracks.




Date '                             Attorney-at-law                       Attorney for
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Telephone                           FAX Number                           E-Mail Address


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      Case 2:20-cv-00163-JDW Document 1 Filed 01/09/20 Page 4 of 16



                            '
                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JACOVETTI LAW, P.C.
194 OLD COUNTRY ROAD
MINEOLTA,NY 11501,                    CIVIL ACTION NO.:
                                                                20                 . 68 -
ROBERT C. JACOVETTI                                  Civil Action
194 OLD COUNTRY ROAD
MINEOLTA, NY 11501,

FCS CAPITAL LLC,
30 MONTGOMERY STREET SUITE 1200
JERSEY CITY, NJ 07302

BARRY SHARGEL INDIVIDUALLY AND
AS MANAGING MEMBER OF FCS
CAPITAL LLC,
30 MONTGOMERY STREET SUITE 1200
JERSEY CITY, NJ 07302
                                                              FILE
AND
                                                              JAN - 9 tu/11
                                                                      ,,_,n--,.,
                                                          K                   •
EMIL YASHA YEV INDIVIDUALLY AND                       By_ \A.TE BARKM4tv ,
AS MANAGING MEMBER OF FCS                                                n' erk
                                                                            · Clerk
CAPITAL LLC,
30 MONTGOMERY STREET SUITE 1200
JERSEY CITY, NJ 07302


      PLAINTIFFS,

           V.

JAMES EVERETT SHEL TON
316 COVERED BRIDGE ROAD
KING OF PRUSSIA, PA 19406

AND

FINAL VERDICT SOLUTIONS
316 COVERED BRIDGE ROAD
KING OF PRUSSIA, PA 19406

AND
        Case 2:20-cv-00163-JDW Document 1 Filed 01/09/20 Page 5 of 16




DAN BOGER
333 DEAN DRIVE
ROCKVILLE MARYLAND 20551

       DEFENDANTS.




                                      COMPLAINT

      Plaintiffs, JACOVETTI LAW, P.C., ROBERT C. JACOVETTI, PCS CAPITAL LLC,

BARRY SHARGEL INDIVIDUALLY AND AS MANAGING MEMBER OF PCS CAPITAL

LLC AND EMIL YASHA YEV ("Plaintiffs"), by and through their undersigned counsel, hereby

submit this Complaint against Defendants, JAMES EVERETT SHEL TON, (Shelton) and FINAL

VERDICT SOLUTIONS and in support thereof, states as follows:

I.   Parties and Jurisdiction

          1. Plaintiff JACOVETTI LAW, P.C. is, a firm in the State of New York with a

             principle place of business located at 194 Old Country Road Mineolta, NY 11501.

          2. Plaintiff ROBERT C. JACOVETTI is the principal of JACOVETTI LAW, P.C.,

             PC with a principle place of business located at/within 194 Old Country Road

             Mineolta, NY 11501.

          3. Plaintiff PCS CAPITAL LLC is a business with a principle place of business

             located at 30 Montgomery Street Suite 1200 Jersey City, NJ 07302.

          4. Plaintiff BARRY SHARGEL is a managing member of PCS CAPITAL LLC

             which is a business with a principle place of business located at 30 Montgomery

             Street Suite 1200 Jersey City, NJ 07302.
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             5. PlaintiffEMIL YASHA YEV is a managing member ofFCS CAPITAL LLC which

                is a business with a principle place of business located at 30 Montgomery Street

                Suite 1200 Jersey City, NJ 07302.

             6. Defendant JAMES EVERETT SHEL TON is of majority age residing in his home

                located at 316 Covered Bridge Road King of Prussia, PA 19406.

             7. Defendant FINAL VERDICT SOLUTIONS is an entity run out of JAMES

                EVERETT SHELTON's home located at 316 Covered Bridge Road King of

                Prussia, PA 19406.

             8. Defendant DAN BOGER is of majority age residing in his home located at 333

                Dean Drive Rockville, Maryland 20551 .

             9. Jurisdiction is based on 28 U.S. Code § 1332(a). The amount in controversy is in

                excess of $75,000.00;

             10. J uri sdicti on is also based on 28 U.S. Code § 13 31 as the issue in controversy arising

                under the Constitution, laws, or treaties of the United States,

             11. This Court has supplemental jurisdiction over Defendant pursuant to 28 U.S. Code

                 § 1367 for all state claims.

             12. At all times relevant and material hereto the named Defendant did act on its own

                individual behalf and as agents, servants, servicers, workmen and/or employees of

                each other, under each other's management, supervision, direction and control.

II.      Background Material Facts

      1. Defendant Shelton runs a scheme and is a well known serial filer of carbon copy

         complaints, alleging TCPA (Telephone Consumer Protection Act) and other similar

         actions against various firms and forcing them into settlement based on materially
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       misrepresented facts and/or entirely fabricated scenarios that Shelton alleges.

   2. Shelton then uses the firm that he runs out of his own home, Final Verdict Solutions, to

       essentially collect on the judgments that he forces upon these companies, in order to

       collect the settlement that was agreed to.

    3. Often times, Shelton will either hold himself out as an attorney or use two specific

       attorneys for his scheme, Bryan Anthony Reo (REO) of REO LAW LLC which only uses

       a business address of PO Box 5100 Mentor, Ohio 44061 and Clayton S. Morrow of

       Morrow & Artim, P.C. 304 Ross St. , 7th Fl. Pittsburgh, PA 15219.

   4. At the time of filing, Shelton has 21 cases alone in the Eastern District of Pennsylvania

                                                                                       1
       that were filed and upon infonnation and belief, 29 total around the country.

    5. To perpetuate this scheme, Shelton will often induce companies to call him, then claim

       they called him improperly, sue and they will settle rather than fight a protracted battle.

    6. One of the more recent cases is against the Plaintiffs in this matter SHELTON v. FCS

       CAPITAL LLC et al at 2:18-cv-03723-JDW.

    7. In that case, the original complaint was filed on August 30, 2018.

    8. An amended complaint was then filed on November 13, 2018, and included Plaintiffs



1
  2:08-cv-77863-ER SHELTON v. TYCO INTERNATIONAL (U .S.) INC . et al; 2:96-cv-03437-LB HAFFEY, et al
v . SOFAMOR DANEK GROUP, et al; 2:16-cv-01650-PD SHELTON v. EXPERIAN INFORMATION
SOLUTIONS, INC. et al ;
2: 17-cv-02367-JHS SHELTON v. MARK D. GUIDUBALDI & ASSOCIATES LLC et al; 2: 17-cv-02368-LDD
SHELTON v. DOAN SOLUTIONS, LLC et al; 2:l 7-cv-02620-TJS SHELTON v. !CAPITAL; CASH GROUP
INC. et al; 2:l 7-cv-02851-GJP SHELTON v. MERCHANT SOURCE INC. ("MSI") et al; 2:17-cv-03301-RBS
SHELTON v. FUNDBOX, INC.; 2: l 7-cv-04063-RBS SHELTON v . NATIONAL; GAS & ELECTRIC, LLC; 2: 18-
cv-0 1655-MAK SHELTON v. CENTERPOINTE LENDING STUDENT LOAN SERVICES et al ; 2: l 8-cv-02070-
NIQA SHELTONv. TARGET ADVANCELLC; 2:18-cv-02071-CFK SHELTONv. FAST ADVANCE
FUNDING, LLC; 2:18-cv-02072-TJS SHELTONv. PARAMOUNT HOLDING COMPANY, LLC; 2 :18-cv-02186-
TJS SHELTON v. CAPITAL; ADVANCES LLC et al; 2:18-cv-02187-CFK SHELTON v. ARETE FINANCIAL;
GROUP et al; 2:18-cv-02259-PBT SHELTON v . RFRCAPITAL; LLC et al; 2:18-cv-02545-MSG SHELTON v.
NATIONAL; STUDENT ASSIST LLC et al; 2 : l 8-cv-02759-GEKP SHELTON v. IVEST 360, LLC; 2: l 8-cv-
03723-JDW SHELTON v . FCS CAPITAL; LLC et al ; 5:19-cv-02466-JFL SHELTON v . TRIFECTA SOLARLLC
et al; and 2:18-cv-04375-CFK SHELTON et al v. DIRECT ENERGY, LP, et al .
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   Jacovetti Law, P.C. and Robert C. Jacovetti.

9. A Safe harbor letter was sent informing Shelton of these bad acts. (See Exhibit A).

10. In fact, he attempted to get a default against these parties, however, once a motion to

   vacate said default was filed, he withdrew the case against Jacovetti Law, P.C. and

   Robert C. Jacovetti on February 6, 2019.

11. This was not before he and his attorneys threatened Jacovetti and his firm several times,

   with emails and phone calls and potentially defaming Mr. Jacovetti and his firm with the

   suit itself, as well as all other Plaintiffs.

12. At that time, Shelton's attorneys, Reo and Morrow both entered the case.

13. The problem with this case, is that it was setup for the sole purpose of extracting as

   settlement, based on false pretenses.

14. Substantially all of the "facts" alleged by Shelton are either palpable incorrect, or

   misstated to intentionally be misleading.

15. First, the T-mobile usage screenshot and also the email that Shelton received did not

   come from any of the Plaintiffs, rather it came from an entity known as "Fast Advance"

   at the time in question.

16. Shelton sent infonnation to Plaintiff Robert C. Jacovetti as "evidence" in that case. (See

   Exhibits B and C - T-mobile usage screenshot and email to Shelton

17. Further, Business Debt Experts and Business Debt Relief, LLC are not actual companies

   nor are they actual D/B/A's and as such, all facts alleged by Shelton in this regard are

   simply not accurate or have any relation with reality.

18. Michael Deangelis was an employee ofFast Advance Funding (FAF) during the time that

   Shelton is alleging.
     Case 2:20-cv-00163-JDW Document 1 Filed 01/09/20 Page 9 of 16



19. In fact, Shelton even mentions this in his Complaint, yet still continues to reference the

    improper parties.

20. Mr. Deangelis was calling from his personal cell phone which none of the parties in this

    case have an authority over.

21 . Further, Mr. Deangelis was sending emails from F AF after May 1st and therefore he

   could not be working for any Plaintiffs because the emails would have been sent from a

   Plaintiff entity, which they were not.

22. While the phone number 347-707-7942 is a number owned by PCS Capital LLC, the

   number could have been spoofed by Michael Deanglis in order to get back at the

   Plaintiffs for firing him.

23. Further, the application that Deanglis sent Shelton from his "FAF" email with Plaintiffs

    letter head was once again something that could have been done for "revenge" and the

   documents were something Deanglis had from his time working with Plaintiff before the

   time in question.

24. Further, paragraph 62 on page 14 of the complaint is a phone nwnber that is owned by

   Plaintiff but that was not Deanglis' old number.

25. Further, on page 19, paragraph 110 on the Complaint, pursuant to internal call records,

   that number did not make the alleged call at that time.

26. On paragraph 71 on page 15 of the complaint, where calls are alleged, an internal review

   of the phone records show those calls.did not happen at that time.

27. Further, the alleged number does not do text messaging, auto dialer or touch 1 calls, so

   these assertions are not accurate.

28. Additionally, Shelton claims that Anthony Diaz calJed him several times from May
          Case 2:20-cv-00163-JDW Document 1 Filed 01/09/20 Page 10 of 16




        through August.

     29. However, during this time, Shelton engaged in conversation with Anthony and expressed

        interest in Plaintiffs service, that is why Anthony kept calling him to follow up on

        previous conversations.

     30. In Shelton's call log on 10/17/2018 a text was allegedly sent from a number ending in

        3787.

     31. Plaintiffs have reviewed all activity for that extension for that day.

     32. It was two calls that came in; nothing going out and that number does not, in fact, send

        texts.

     33. Further, Shelton says that Terrell called him multiple times and yet again, the phone

         records do not match this.

     34. Finally, it is clear these actions are all being brought for the same purpose by Shelton and

        his attorneys and has been doing so for some time.

     35. However, Shelton continues to try and pursue this case improperly against the remaining

        Defendants.

     36. Defendant Dan Boger has often assisted Shelton in these matters, communicated directly

        with Plaintiffs, and is incorporated by reference in the aforementioned actions.


                               COUNT ONE - ALL DEFENDANTS

          RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT

1.      Plaintiff hereby incorporate by reference all preceding paragraphs as if set forth at length

        herein.

2.      Further, there is an action for Racketeer Influenced and Corrupt Organizations Act (RICO),

        Pub.L. 91-452, Title IX, 84 Stat. 941, as amended, 18 U.S.C. §§ 1961-1968, because there
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        was a "pattern of racketeering activity," which the statute defines as "at least two acts of

        racketeering activity" within a ten year period. 18 U.S.C. § 1961(5); Tabas, 47 F.3d at

        1290.

3.      At all times relevant and material hereto the Defendants did use electronic transmission,

        including fax, internet, in order to engage in deceptive and fraudulent practices, to wit: the

        deceptive, fraudulent and unlawful taking, theft and attempted conversion of Plaintiffs

        property- all of which is in violation of 18 U.S. Code§ 1343.

4:-     Further, there is an action for Racketeer Influenced and Corrupt Organizations Act (RICO),

        Pub.L. 91-452, Title IX, 84 Stat. 941, as amended, 18 U.S.C. §§ 1961-1968, because there

        was a "pattern of racketeering activity," which the statute defines as "at least two acts of

        racketeering activity" within a ten year period. 18 U.S.C. § 1961(5); Tabas, 47 F.3d at

        1290 .

.§.:-   Defendants have established a 'pattern of activity', by an 'enterprise', which has committed

        'predicate acts', those acts never occurring more than ten years apart from the previous

        act(s).

6.      The RICO statute is intended to address repeat, rather than one-shot, criminal activity.

7.      For this reason, "the heart of any RICO complaint is the allegation of a pattern of

        racketeering." See Agency Holding Corp. v. Malley-Duff & Assoc., Inc., 483 U.S. 143, 154

        (1987).

8.      The RICO statute also proscribes activities involving the "collection of an unlawful debt"

        as a separate basis for a RICO claim. See 18 U. S.C. § 1962(a)-(c).
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9.    Wary of seeing "garden variety" fraud cases dressed up as federal claims, federal courts

      have used the "pattern" element as a means "to trim off the excesses of a civil RICO claim."

      See United States v. O'Connor, 910 F.2d 1466, 1468 (7th Cir. 1990).

10.   Federal courts have revealed some difficulty articulating exactly what type of proof is

      sufficient to meet the "pattern" element. See US. Textiles, Inc. v. Anheuser-Busch Cos.,

      911 F.2d 1261, 1266 (7th Cir. 1990) ("[A} definition for precisely what activity will

      constitute a 'pattern' for purposes of the RICO statute has eluded the federal courts. ").

11.   Nonetheless, the aforementioned facts support this claim in this action.

12.   In fact, the continued pursuit by Defendants clearly illustrates that the actions are still

      ongoing, to this day.

      WHEREFORE, the Plaintiff demand judgment against all Defendants, individually,

      jointly and severally for damages, interests and costs of suit including:

                         a. Punitive and/or treble damages;

                         b. Damages as permitted by statute;

                         c. Counsel fees ;

                         d. All other relief this Court deems necessary and just.


                                 COUNT TWO - SHELTON
                                      Wire Fraud

13.   Plaintiffs hereby incorporate by reference all preceding paragraphs as if set forth at length

      herein.

14.   At all times relevant and material hereto the Defendant did use electronic transmission,

      including fax, internet, in order to engage in deceptive and fraudulent practices, to wit: the
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      deceptive, fraudulent and unlawful filing of friviolous lawsuits, including the one against

      the Plaintiffs in this matter.

15.   Further, there is an action for Racketeer Influenced and Corrupt Organizations Act (RICO),

      Pub.L. 91-452, Title IX, 84 Stat. 941, as amended, 18 U.S.C. §§ 1961-1968, because there

      was a "pattern of racketeering activity," which the statute defines as "at least two acts of

      racketeering activity" within a ten year period. 18 U.S.C. § 1961(5); Tabas, 47 F.3d at

      1290.

16.   There is no question Shelton, his collection firm, and his attorneys, file these frivolous suits

      for the sole purpose of extracting finds from companies.

17.   As was previously stated, they have filed dozens of these cases, and continue to do so

      across the country.

18.   There is no reason why this process should be pennitted to continue.

      WHEREFORE, the Plaintiff demand judgment against all Defendant, individually, jointly

      and severally for damages, interests and costs of suit including:

                            e. Punitive and/or treble damages;

                            f.   Damages as permitted by statute;

                            g. Counsel fees;

                          h. All other relief this Court deems necessary and just.

                                   COUNT THREE-SHELTON
                                             Defamation


19.   Plaintiff hereby incorporates by reference all preceding paragraphs as if set forth at length

      herein.
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20.    At all times relevant herein, Defendant has published statements both orally and through

       the filing of his complaints that are false and negative representations concerning Plaintiffs.

21 .   At a minimum, Defendant has published these statements in the complaints that were filed.

22.    The statements made by Defendant are false, as the actions alleged was purely caused by

       Defendant's bad faith actions and/or other parties.

23 .   Defendant knew, or should have known, that the statements that it made were false when

       made and that it had no factual basis for making the statements that it did, as Plaintiffs had

       notified Defendant that the statements were false for the aforementioned reasons and,

       nevertheless, Defendant continued to publish such statements up to and through the present

       time.

24.    The written statements and publications are libel per se.

25 .   The oral statements and publications are slander per se.

26.    In addition, and despite the repeated notices from Plaintiff, Defendant has acted with

       malice by failing to withdraw this complaints.

27.    The conduct of Defendant was a direct and proximate cause, as well as a substantial factor,

       in bringing about the serious injuries, damages, and harm to Plaintiff that are outlined more

       fully above and, as a result, Defendant are liable to compensate Plaintiff for the full amount

       of actual, compensatory, and punitive damages, as well as other such relief, as permitted

       by law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs requests that this Court enter judgment in their favor and

against Defendant, as follows :

                 a.   Awarding Plaintiff actual damages against Defendant;
                 b.   Awarding Plaintiff damages for emotional distress against Defendant;
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              c.       Awarding Plaintiff attorneys' fees and costs against Defendant;
              d.       Imposing any other appropriate monetary sanctions against Defendant; and
              e.       Any other relief that this Court deems just and proper.


                            COUNT FOUR - ALL DEFENDANTS
                                UNJUST ENRICHMENT

28.   Plaintiffs hereby incorporate by reference all preceding allegations as if fully set forth at

      length herein.

29.   Under Pennsylvania law, a claim of unjust enrichment must allege the following elements:

      ( 1) plaintiff conferred a benefit on the defendant; (2) the defendant appreciated the benefit;

      and (3) acceptance and retention by the defendant of the benefits, under the circumstances,

      would make it inequitable for the defendant to retain the benefit without paying for the

      value of the benefit. Com. ex. rel. Pappert v. TAP Pharm. Prods., Inc., 885A.2d 1127 (Pa.

      Commw. 2005).

30.   Because of the numerous aforementioned misrepresentations, Defendants attempt to be

      unjustly enriched by Plaintiffs.

31.   Defendants either through intentional actions or gross negligence continued to attempt to

      enriched through their actions.

32.   Accordingly, Defendants are attempting to receive a benefit they are not entitled to.

      WHEREFORE, the Plaintiff demand judgment against all Defendants, individually,

      jointly and severally for damages, interests and costs of suit including:

                          a. Punitive and/or treble damages;

                          b. Damages as permitted by statute;

                          c. Counsel fees;

                          d. All other relief this Court deems necessary and just.
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Dated: 1/6/2020
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